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 5
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 6 STINK INC. L.A. dba THE STINKING ROSE
 7
 8
                                        IN THE UNITED STATES DISTRICT COURT
 9
                                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
     LINDA HAMMEL,                                             Case No. 2:19-cv-5786
11
12             Plaintiff,                                      NOTICE OF REMOVAL OF CIVIL
                                                               ACTION (DIVERSITY, 28 U.S.C. §§
13
     vs.                                                       1332, 1441 and 1446); DEMAND FOR
14                                                             JURY TRIAL
     STINK INC. L.A., a California corporation,
15                                                             [Filed Concurrently with Affidavit of
     individually and dba THE STINKING
16   ROSE and DOES 1 to 10,                                    Michael E. Jenkins In Support of Notice of
                                                               Removal;
17                                                             Notice to Adverse Party of Removal to
               Defendants.                                     Federal Court; Certificate of Service of
18                                                             Notice to Adverse Party of Removal to
19                                                             Federal Court; Notice of Pendency of Other
                                                               Actions or Proceedings;
20                                                             Notice of Related Case; Notice of Lodging
                                                               of State Court Complaint; Certification and
21                                                             Notice of Interested Parties]
22
23              TO THE CLERK OF THE COURT, PLAINTIFF LINDA HAMMEL, AND HER
24 ATTORNEYS OF RECORD:
25     PLEASE TAKE NOTICE THAT Defendant STINK INC. L.A. dba THE
26 STINKING ROSE hereby removes, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, to
27 this Court, the state action described below:
28 //
     SPFMI-5535\pleadings\federal\ntc removal              1
                    NOTICE OF REMOVAL OF CIVIL ACTION (DIVERSITY, 28 U.S.C. §§ 1332, 1441 and 1446);
                                            DEMAND FOR JURY TRIAL
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 1    I.   BACKGROUND & PROCEDURAL POSTURE
 2         1.       On January 16, 2018, this action was filed in the Superior Court of the State
 3 of California in the County of Los Angeles, entitled Linda Hammel v. Stink Inc. L.A., a
 4 California corporation, individual and dba THE STINKING ROSE and DOES 1 to 10,
 5 bearing Case No. BC690185. See Affidavit of Michael E. Jenkins (hereinafter “Jenkins
 6 Affidavit”), ¶2.
 7         2.       Plaintiff LINDA HAMMEL’S (hereinafter “Plaintiff”) Complaint asserts
 8 causes of action against Defendant STINK INC. L.A. dba THE STINKING ROSE
 9 (hereinafter “Defendant”) for (1) negligence and (2) premises liability, seeking monetary
10 damages allegedly resulting from an injury occurring in the County of Los Angeles on or
11 about October 22, 2016. See Jenkins Affidavit, ¶2.
12         3.       The Complaint prays for monetary damages according to proof and as
13 allowed by law for compensatory damages. The Complaint does not identify Plaintiff’s
14 residence or citizenship. See Jenkins Affidavit, ¶2.
15         4.       A true and correct copy of the entire state court case file, including the
16 summons and complaint, the civil case cover sheet, and proof of service are collectively
17 attached to Jenkins Affidavit, Exhibit “A”.
18         5.       Defendant was not served with the summons and complaint until January 5,
19 2019. See Jenkins Affidavit, ¶3.
20         6.       Defendant filed a responsive pleading in the state court action on February 1,
21 2019. See Jenkins Affidavit, ¶4. A true and correct copy of the Answer filed and served
22 by Defendant on February 1, 2019 is attached to Jenkins Affidavit as Exhibit “B”.
23         7.       Along with Defendant’s Answer, Defendant simultaneously served initial
24 written discovery requests to Plaintiff. See Jenkins Affidavit, ¶5. A true and correct copy
25 of the initial set of discovery served upon Plaintiff on February 1, 2019 is attached to
26 Jenkins Affidavit as Exhibit “C”.
27         8.       Verified responses to initial written discovery were initially due by March 8,
28 2019. Plaintiff, through her counsel, contacted Defendant for an extension of time to
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 1 respond to initial discovery. On June 14, 2019, Defendant received verified initial
 2 discovery responses by Plaintiff. Plaintiff’s June 14, 2019 verified responses reveal, for
 3 the first time, that Plaintiff’s residence is Wisconsin. See Jenkins Affidavit, ¶6. A true
 4 and correct copy of Plaintiff’s verified responses to initial discovery propounded by
 5 Defendant is attached, collectively, to Jenkins Affidavit as Exhibit “D”.
 6   II.   DIVERSITY JURISDICTION UNDER 28 U.S.C. § 1332:
 7         9.       This action is a civil action of which this Court has original jurisdiction under
 8 28 U.S.C.§ 1332, and is one which may be removed to this Court by Defendants, pursuant
 9 to the provisions of 28 U.S.C. § 1441, in that it is a civil action between citizens of
10 different states and the matter in controversy exceeds the sum of $75,000.
11         10.      Complete diversity of citizenship exists in that Plaintiff was, and still is, a
12 citizen of the State of Wisconsin, whereas, Defendant is, and has been, a citizen of the
13 State of California. See Jenkins Affidavit, ¶6, 7.
14         11.      An individual's citizenship for purposes of establishing jurisdiction is the
15 individual's domicile. Kantor v. Wellesley Galleries, Ltd. (9th Cir. 1983) 704 F.2d 1088,
16 1090. Residence is prima facie evidence of domicile. State Farm Mut. Auto. Ins. Co. v.
17 Dyer (10th Cir. 1994) 19 F.3d 514, 520. Plaintiff’s verified response to Form
18 Interrogatories 2.3 and 2.5 revealed that Plaintiff is a Wisconsin resident. See Exhibit D
19 of Jenkins Affidavit, ¶6.
20         12.      Pursuant to 28 U.S.C. § 1332, "a corporation shall be deemed to be a citizen
21 of every State and foreign state by which it has been incorporated and of the State or
22 foreign state where it has its principal place of business." Defendant is a corporation
23 incorporated in California on or about October 6, 1994 with its principle place of business
24 in California. It has been a citizen of California at all relevant times, including at the time
25 of filing of the Complaint and at the time of this removal. See Jenkins Affidavit, ¶7.
26         13.      That Plaintiff's Complaint names DOES as defendants is immaterial for
27 purposes of determining diversity of citizenship. For purposes of removal, "the citizenship
28 of defendants sued under fictitious names shall be disregarded . . . and becomes relevant
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 1 only if and when the plaintiff seeks leave to substitute a named defendant." 28 U.S.C. §
 2 1441(b). There are no other defendants, other than the immaterial DOES, and, thus, none
 3 are required to consent to this removal.
 4          14.   While the Complaint itself does not assert an exact amount of damages, and
 5 Defendants deny any liability for any sum of damages, the amount in controversy, i.e. the
 6 estimate of the total amount in dispute and which is being sought by Plaintiff, is over the
 7 jurisdictional limit of $75,000, as will be shown by a preponderance of the evidence
 8 described more fully below. Lewis v. Verizon Communs., Inc., 627 F.3d 395 (9th Cir. Cal.
 9 2010); Gaus v. Miles, Inc., 980 F.2d 564 (9th Cir. Nev. 1992). In reviewing the totality of
10 the Plaintiff's filings and Plaintiff’s initial discovery responses, Plaintiff is seeking
11 monetary damages exceeding the jurisdictional minimum of $75,000. See Jenkins
12 Affidavit, ¶8.
13          15.   Indeed, Plaintiff’s Responses to Form Interrogatory 6.4 includes the cost of
14 medical treatment incurred as a result of Plaintiff’s alleged incident. The aggregate
15 amount provided by Plaintiff is approximately a minimum of $147,146.30, which well
16 exceeds the jurisdictional minimum of $75,000.00. See Jenkins Affidavit, ¶9.
17          16.   In addition to Plaintiff’s Responses to Form Interrogatory 6.4, Plaintiff
18 served Defendant with a Statement of Damages, signed by Plaintiff’s counsel Steve A.
19 Hoffman on December 13, 2018. It lists general damages for Plaintiff in the amount of
20 Three Million Dollars $3,000,000.00, medical and incidental expenses incurred by or on
21 behalf of Plaintiff in the amount of Three Million Dollars $3,000,000.00, and future
22 medical and incidental expenses for Plaintiff in the amount of Three Million Dollars
23 $3,000,000.00. Collectively, Plaintiff’s Statement of Damages alleged Nine Million
24 Dollars $9,000,000.00 in damages. See Jenkins Affidavit, ¶10. A true and correct copy of
25 Plaintiff’s Statement of Damages is attached to Jenkins Affidavit as Exhibit “E”.
26          17.   Plaintiff’s Statement of Damages combined with Plaintiff’s produced
27 medical bills provided in response to Form Interrogatory 6.4 confirms that the amount in
28 controversy well exceeds the jurisdictional minimum of $75,000.00. See Jenkins
   SPFMI-5535\pleadings\federal\ntc removal    4
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 1 Affidavit, ¶9, 10.
 2         18.    Accordingly, all the prerequisites for removal based upon diversity have been
 3 met. Complete diversity exists between the parties, and the amount in controversy exceeds
 4 the jurisdictional minimum.
 5 III.    PROCEDURAL REQUIREMENTS:
 6         19.    As this action is currently pending in the Superior Court in and for the
 7 County of Los Angeles, this Court, the Western Division of the Central District of
 8 California, which covers Los Angeles County, is the proper forum for this action upon
 9 removal. 28 U.S.C. § 1441(a).
10         20.    This Notice of Removal is timely, as it is being filed within thirty (30) days
11 after receipt by Defendant of new information warranting removal, pursuant to the time
12 period set out in 28 U.S.C. § 1446(b)(3). Defendant received Plaintiff’s verified
13 responses to initial discovery on June 14, 2019, finally revealing that Plaintiff was at the
14 time of the incident, at the time of the commencement of the action, and at the time of this
15 Notice of Removal, a resident of Wisconsin. See Jenkins Affidavit, ¶6.
16         21.    Although this Notice of Removal surpasses the one (1) year commencement
17 date, Plaintiff acted in bad faith in order to prevent Defendant from removing the action
18 within the one (1) year commencement date. Indeed, Plaintiff filed her Complaint on
19 January 16, 2018 but waited almost an entire year to serve initiation documents upon
20 Defendant. See Jenkins Affidavit, ¶2, 3. This delay in service is in direct violation of
21 California Rules of Court Rule 3.110, which requires service of complaints and proofs of
22 service of such to be filed with the court within sixty (60) days after filing of the
23 complaint. Instead of serving Defendant and filing the proof of service by March 2018,
24 Plaintiff waited almost an entire year after filing her complaint to effectuate service.
25 Indeed, Plaintiff’s violation of California Rules of Court Rule 3.110 is a prima facie
26 showing of bad faith on part of Plaintiff. Even when Defendant was served with the
27 summons and complaint on January 5, 2019, the documents were void of any indication
28 that Plaintiff was not a resident of California. See Jenkins Affidavit, ¶2.
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 1              22.        No pleadings, process or orders, other than those attached to the supporting
 2 Jenkins Affidavit, have been served on Defendant. Therefore, no other pleadings, process
 3 or orders are attached to this Notice as required by 28 U.S.C. § 1446(a).
 4              23.        Pursuant to 28 U.S.C. § 1446(d), a copy of this notice of removal is being
 5 filed with the clerk of the Superior Court of California, County of Los Angeles and
 6 written notice is being provided to Plaintiff.
 7              24.        This Notice of Removal is signed pursuant to Fed. R. Civ. P. 11. 28 U.S.C. §
 8 1446(a).
 9 IV.          CONCLUSION:
10              25.        If any question arises as to the propriety of the removal of this action,
11 Defendant requests the opportunity to present a brief and/or oral argument in support of
12 this Notice of Removal.
13              26.        For these reasons, Defendant removes this action now pending in the
14 Superior Court in and for the County of Los Angeles to this Honorable Court, and
15 requests this Court retain jurisdiction for all further proceedings.
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17
     Dated: July 3, 2019                               HARRINGTON, FOXX, DUBROW & CANTER,
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                                                       LLP
19
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21                                                     By: /s/ MICHAEL E. JENKINS
22                                                         MICHAEL E. JENKINS
                                                           Attorneys for Defendant
23                                                         STINK INC. L.A. dba THE STINKING
24                                                         ROSE

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 1                                              DEMAND FOR JURY TRIAL
 2              PLEASE TAKE NOTICE THAT Defendant STINK INC. L.A. dba THE
 3 STINKING ROSE hereby requests a jury trial in the above entitled action.
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 5
     Dated: July 3, 2019                              HARRINGTON, FOXX, DUBROW & CANTER,
 6
                                                      LLP
 7
 8
 9                                                    By: /s/ MICHAEL E. JENKINS
10                                                        MICHAEL E. JENKINS
                                                          Attorneys for Defendant
11                                                        STINK INC. L.A. dba THE STINKING
12                                                        ROSE

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                    NOTICE OF REMOVAL OF CIVIL ACTION (DIVERSITY, 28 U.S.C. §§ 1332, 1441 and 1446);
                                            DEMAND FOR JURY TRIAL
